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                                          #:1801



 1                        UNITED STATES DISTRICT COURT
 2                       CENTRAL DISTRICT OF CALIFORNIA

 3                                          ****
 4   UNITED STATES OF AMERICA,              )
                                            )
 5                      Plaintiff,          )
 6                                          )   CASE NO. 2:24-CR-00091-ODW
     v.                                     )
 7                                          )
 8   ALEXANDER SMIRNOV,                     )
                                            )
 9                      Defendant,          )   [PROPOSED] ORDER
10

11         Upon reviewing Defendant's Motion in Limine to Preclude Any Evidence
12
     From (or, References to) Mr. Smirnov's Interview with the FBI and Other
13
14   Government Officials on September 27, 2023, and reviewing the Government's
15
     Opposition to that Motion, it is hereby:
16
           ORDERED that Defendant's Motion In Limine is GRANTED. See Fed. R.
17
18   Evid. 403.
19
           IT IS SO ORDERED.
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22
           DATE                                     HONORABLE OTIS D. WRIGHT II
23
                                                    UNITED STATES DISTRICT JUDGE
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